                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION

                                          Case No. 5:23-cv-00708-M

    MARDEN'S ARK CORP., and on
    behalf of all others similarly situated,

            Plaintiffs,
                                                                                     ORDER
    V.

    UNITED HEAL TH GROUP
    INCORPORATED,

            Defendant.


         This matter comes before tl)e court on Plaintiffs motion for preliminary approval of a class

action Settlement Agreement and Release' [DE 33].                    For good cause shown, the motion is

GRANTED. Accordingly, the court ORDERS that:

     1. Having assessed the fairness, reasonableness, and adequacy of the Settlement Agreement

         and finding that it falls within the range of reasonableness meriting possible final approval,

         the Settlement Agreement and the terms and conditions of settlement set forth therein are

         preliminarily approved, subject to further consideration at the Final Approval Hearing;

     2. The Notice and Claim Form (all attached to the Settlement Agreement) are preliminarily

         approved because those forms and the manner of their transmission comply with Rule 23

         and due process, in that they are reasonably calculated to adequately apprise class members

         of (i) the pending lawsuit, (ii) the proposed settlement, and (iii) their rights, including the




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 Capitalized tenns in this order, unless otherwise defined, have the same definitions as those tenns in the Settlement
Agreement.



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   right to either participate in the settlement, exclude themselves from the settlement, or

   object to the settlement;

3. For settlement purposes only:

       a. The Class is so numerous that joinder of all Settlement Class Members 1s

          impracticable;

       b. Plaintiffs claim is typical of the Settlement Class Members' claims;

       c. There are questions of law and fact common to the Settlement Class which

          predominate over any questions affecting only individual Settlement Class

          Members; and

       d. Class certification is superior to other available methods for the fair and efficient

          adjudication of the controversy;

4. Kroll Settlement Administration is appointed as the Settlement Administrator. The

   Settlement Administrator will notify Class Members of the settlement in the manner

   specified under Section 6.5 of the Settlement Agreement. The Court further finds that the

   Notice Plan described in the Settlement Agreement is the best practicable under the

   circumstances. The Notice Plan is reasonably calculated under the circumstances to inform

   the Settlement Class of the pendency of the action, certification of a Settlement Class, the

   terms of the Settlement, Class Counsel's application for a Fee Award and Service Award,

   the claim process, and their rights to opt-out of the Settlement Class or object to the

   Settlement. The Notices and Notice Plan constitute sufficient notice to all persons entitled

   to notice. The Notices and Notice Plan satisfy all applicable requirements oflaw, including,

   but not limited to, Federal Rule of Civil Procedure 23 and the Constitutional requirement

   of due process;



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5. Class Members who want to receive an award under the Settlement Agreement must

   accurately complete and submit a Claim Form to the Settlement Administrator

   approximately 60 days after the Notice Date, as specified in the Notices;

6. Any Class Member who has not submitted a timely written exclusion request and who

   wishes to object to the fairness, reasonableness, or adequacy of the Settlement Agreement

   must submit written objections to the Clerk of the Court postmarked by the Opt-Out

   Deadline. Any objection regarding or related to the Settlement Agreement must include:

   (i) the objector's name, address, and telephone number; (ii) the phone number(s) at which

   it, he or she received calls covered by this Settlement; and (iii) the factual basis and legal

   grounds for the objection. Only Settlement Class Members who submit timely objections

   may be heard at the Final Approval Hearing. If a Settlement Class Member makes an

   objection through an attorney, the Settlement Class Member will be responsible for his or

   her personal attorney ' s fees and costs;

7. Settlement Class Members who fail to object to the Settlement Agreement in the manner

   specified above will: (1) be deemed to have waived their right to object to the Settlement

   Agreement; (2) be foreclosed from objecting (whether by a subsequent objection,

   intervention, appeal, or any other process) to the Settlement Agreement; and (3) not be

   entitled to speak at the Final Approval Hearing;

8. Settlement Class Members may elect not to be part of the Class and not to be bound by this

   Settlement Agreement. Individual requests for exclusion may be submitted to the

   Settlement Administrator by mail and postmarked no later than the Opt-Out Deadline. No

   mass opt-outs are allowed. All requests for exclusion must be in writing and signed by the

   Settlement Class Member, include the Settlement Class Member' s name, address, and the



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   phone number(s) at which he or she received calls covered by this Settlement, and clearly

   state that the Person wishes to be excluded from the Litigation and the Settlement;

9. The Settlement Class is provisionally certified as a class of: All regular users or subscribers

   to numbers assigned to wireless carriers which Optum Community Health Workers called

   as part of the Optum at Home program during the Settlement Class Period using an artificial

   or pre-recorded voice who were not members or subscribers of United Healthcare or that

   opted out of receiving calls from United Healthcare. Excluded from the Settlement Class

   are: (1) the Judges presiding over this action and members of their families ; (2) the

   Defendant,     Defendant's    respective   subsidiaries,   parent   compames,      successors,

   predecessors, and any entity in which the Defendant or their parents have a controlling

   interest and its current or former officers and directors; (3) persons who properly execute

   and file a timely request for exclusion from the class; and (4) the legal representatives,

   successors or assigns of any such excluded person(s);

10. Plaintiff is conditionally certified as the class representative to implement the Parties'

   settlement in accordance with the Settlement Agreement. Avi R. Kaufman of Kaufman

   P.A. and Stefan Coleman of Coleman PLLC are conditionally appointed as Class Counsel.

   Plaintiff and Class Counsel must fairly and adequately protect the Settlement Class's

   interests;

11 . Any actions or proceedings in any court in the United States involving any Released Claims

   asserted by any Releasing Parties, except any matters necessary to implement, advance, or

   further the approval of the Settlement Agreement are stayed pending the Final Approval

   Hearing and issuance of any Final Order and Judgment;




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12. If the Settlement Agreement terminates for any reason, the following will occur: (a) class

   certification will be automatically vacated; (b) Plaintiff and Class Counsel will stop

   functioning as the class representative and class counsel, respectively, except to the extent

   previously appointed by the Court; and (c) this Action will revert to its previous status in

   all respects as it existed immediately before the Parties executed the Settlement Agreement,

   other than as to payments made to, or owed for work already incurred by, the Settlement

   Administrator. Neither the Settlement nor this Order will waive or otherwise impact the

   Parties' rights or arguments. Neither the Settlement terms nor any publicly disseminated

   information regarding the Settlement, including, without limitation, the Class Notice, court

   filings, orders and public statements, may be used as evidence. In addition, neither the fact

   of, nor any documents relating to, any Party 's withdrawal from the Settlement, any failure

   of the Court to approve the Settlement and/or any objections or interventions may be used

   as evidence;

13. Nothing in this order is, or may be construed as, an admission or concession on any point

   of fact or law by or against any Party;

14. All discovery and pretrial proceedings and deadlines are stayed and suspended until further

   notice from the court, except for such actions as are necessary to implement the Settlement

   Agreement and this crder. Pending final determination of whether the Settlement should

   be approved, Plaintiff, all persons in the Settlement Class, and persons purporting to act on

   their behalf are enjoined from commencing or prosecuting (either directly, representatively

   or in any other capacity) against any of the Released Parties any action or proceeding in

   any court, arbitration forum or tribunal asserting any of the Released Claims;




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15. Counsel for the Parties are hereby authorized to utilize all reasonable procedures in

   connection with the administration of the settlement which are not materially inconsistent

   with either this order or the terms of the Settlement. The Parties may further modify the

   Settlement Agreement prior to the Final Approval Hearing so long as such modifications

   do not materially change the terms of the settlement provided therein. The court may

   approve the Settlement Agreement with such modifications as may be agreed to by the

   Parties, if appropriate, without further notice to Settlement Class Members;

16. On August 4, 2025, at 2:00 p.m. in Courtroom 1, Alton Lennon Federal Courthouse, 2

   Princess Street, Wilmington, North Carolina, this court will hold a Fairness Hearing to

   determine whether the Settlement Agreement should be finally approved as fair,

   reasonable, and adequate. Plaintiffs motion in support of the Final Approval shall be filed

   after notice is disseminated and at least fifteen (15) days prior to the Final Approval

   Hearing. This court may order the Final Approval Hearing to be postponed, adjourned,

   held remotely, or continued. If that occurs, the Parties will not be required to provide any

   additional notice to Settlement Class Members; and

17. The Agreement and this Order provide for the following timeline dates and deadlines

   related to the provision of notice and the Final Approval Hearing:




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 Settlement    Administrator provides      Initial       Within thirty (30) days after entry of the

 Mailed   olice lo Settlement Class Members              Preliminary Approval Order


 Class Counsel's application for fee s, expenses,    No later than thirty (30) days prior lo the Opt-

 and   costs   and   a Service Award          for    Out Deadline

 Representative Plaintiff


 Last day for Settlement Class Members to                Approximately sixty (60) days after the Notice

 submit Claim Fonus and Opt-Out Deadline                 Date


 Last day for Settlement Class Counsel to file           At least fifteen ( 15) days before Final

 motion in support of Final Approval                     Approval Hearing


 Final Approval Hearing                                  Approximately one hundred and twenty (120)

                                                     days from entry of the Preliminary Approval

                                                         Order




                              ~
 SO ORDERED this            'ZJ11     day of March, 2025.




                                      ~ I L fYl~.M/• -J.
                                            RICHARD E. MYERS II
                                            CHIEF UNITED STATES DISTRICT JUDGE




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